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                EXHIBIT A-4
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From:               Prather, Laura
To:                 Butzer, Carl
Cc:                 kbender@willkie.com; mgottlieb@willkie.com
Subject:            RE: Wallace
Date:               Wednesday, March 5, 2025 11:54:12 AM
Attachments:        image002.png
                    2025.03.05 Agreed Motion to Extend Deadline for Defendant to Respond to Plaintiffs" Complaint 4934-7359-2868
                    v.4.docx



   Caution: **External Email.
Hi Carl,

Here you go.

Thanks,
Laura




Laura Lee Prather | Partner
laura.prather@haynesboone.com | (t) +1 512.867.8476
Licensed in Texas, California, New York, D.C., and Colorado
From: Butzer, Carl <cbutzer@jw.com>
Sent: Wednesday, March 5, 2025 11:21 AM
To: Prather, Laura <Laura.Prather@haynesboone.com>
Cc: Babcock, Chip <cbabcock@jw.com>; Glover, Joel <jglover@jw.com>; Blaesche, Minoo
<mblaesche@jw.com>; Hamilton, Nancy <nhamilton@jw.com>
Subject: RE: Wallace

EXTERNAL: Sent from outside Haynes and Boone, LLP


Just send me the draft when you can.

Thanks,
Carl
Carl Butzer | Partner
2323 Ross Avenue, Suite 600
Dallas, TX 75201
V: (214) 953-5902 | F: (214) 661-6609 | cbutzer@jw.com




From: Prather, Laura <Laura.Prather@haynesboone.com>
Sent: Wednesday, March 5, 2025 10:58 AM
To: Butzer, Carl <cbutzer@jw.com>
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Cc: Gottlieb, Michael <MGottlieb@willkie.com>; Bender, Kristin <KBender@willkie.com>
Subject: RE: Wallace


   Caution: **External Email.


Hi Carl,

Pursuant to this exchange, we’ll be filing an Agreed Motion asking the Court to extend the
deadline for Lively to respond to the Complaint from March 10, 2025 to April 4, 2025 today.

Take care,
Laura



Laura Lee Prather | Partner
laura.prather@haynesboone.com | (t) +1 512.867.8476
Licensed in Texas, California, New York, D.C., and Colorado
From: Prather, Laura <Laura.Prather@haynesboone.com>
Sent: Tuesday, March 4, 2025 6:04 PM
To: Butzer, Carl <cbutzer@jw.com>
Cc: Gottlieb, Michael <MGottlieb@willkie.com>; Bender, Kristin <KBender@willkie.com>
Subject: RE: Wallace

Hi Carl,

Confirmed.

Take care,
Laura



Laura Lee Prather | Partner
laura.prather@haynesboone.com | (t) +1 512.867.8476
Licensed in Texas, California, New York, D.C., and Colorado
From: Butzer, Carl <cbutzer@jw.com>
Sent: Tuesday, March 4, 2025 4:56 PM
To: Prather, Laura <Laura.Prather@haynesboone.com>
Cc: Babcock, Chip <cbabcock@jw.com>; Hamilton, Nancy <nhamilton@jw.com>; Glover, Joel
<jglover@jw.com>; Dow, Matt <mdow@jw.com>
Subject: Wallace

EXTERNAL: Sent from outside Haynes and Boone, LLP
     Case 1:24-cv-10049-LJL           Document 142-5     Filed 03/19/25   Page 4 of 4


Dear Laura,

We understand from New York counsel representing Ms. Lively’s husband that
you have been involved in his request to extend Ms. Lively’s response date in
the Texas case to April 4, 2025. If that is what your client desires, please
confirm. We would be agreeable to that extension if your client also agrees to
seek no further extensions. Please let me know.

Thanks,
Carl
Carl Butzer | Partner
2323 Ross Avenue, Suite 600
Dallas, TX 75201
V: (214) 953-5902 | F: (214) 661-6609 | cbutzer@jw.com




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